              Case 1:10-cr-00173-JLT Document 188 Filed 08/16/16 Page 1 of 2
PROB 35 (ED/CA)

                       Report and Order Terminating Supervised Release
                               Prior to Original Expiration Date


                                  UNITED STATES DISTRICT COURT
                                                   FOR THE


                               EASTERN DISTRICT OF CALIFORNIA

      UNITED STATES OF AMERICA                        )
                                                      )
                             v.                       )
                                                      )       Docket No.: 0972 1:10CR00173-004
              Ribhi Fadel Abdel Fattah                )
                                                      )
                                                      )


On March 21, 2011, the above-named was sentenced to Supervised Release for a period of 4
years. Supervision commenced on May 30, 2014.


The supervisee has complied with the rules and regulations of Supervised Release and is no
longer in need of supervision. It is accordingly recommended that the supervisee be discharged
from supervision.


                                           Respectfully submitted,

                                             /s/ Tim D. Mechem

                                              TIM D. MECHEM
                                  Supervising United States Probation Officer


Dated:            August 12, 2016
                  Fresno, California
                  TDM/rmv


                              /s/ Brian J. Bedrosian
REVIEWED BY:                   BRIAN J. BEDROSIAN
                               Supervising United States Probation Officer



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                                                                                                              Rev. 06/2015
                                                                                EARLY TERMINATION ~ ORDER (PROB35).DOTX
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PROB 35 (ED/CA)



Re:        Ribhi Fadel Abdel Fattah
           Docket No: 0972 1:10CR00173-004
           Report and Order Terminating
           Prior to Original Expiration Date




                                    ORDER OF COURT

Pursuant to the above report, it is ordered that Ribhi Fadel Abdel Fattah be discharged from
Supervised Release, and that the proceedings in the case be terminated.

IT IS SO ORDERED.

Dated: August 16, 2016
                                          SENIOR DISTRICT JUDGE




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                                                                                                 Rev. 06/2015
                                                                   EARLY TERMINATION ~ ORDER (PROB35).DOTX
